       Case 1:10-cr-00131-LJO Document 114 Filed 03/01/12 Page 1 of 2



 1   BENJAMIN B. WAGNER
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 2   KAREN A. ESCOBAR
     Assistant U.S. Attorney
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 4   Telephone: (559) 497-4000

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 8                 IN THE UNITED STATES DISTRICT COURT FOR THE

 9                        EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,          )        1:10-cr-00131 AWI
                                        )
12                                      )
                                        )
13                  Plaintiff,          )
                                        )
14        v.                            )        STIPULATION RE:
                                        )        CONTINUANCE AND
15                                      )        ORDER
                                        )
16                                      )
     MARK McGRATH,                      )
17                                      )
                                        )
18                                      )
                    Defendant.          )
19   ___________________________________)

20          The above-named Defendant in the above-captioned matter, by

21   and through his attorney, CHARLES LEE, and the United States of

22   America, by and through its attorneys, BENJAMIN B. WAGNER, United

23   States Attorney, and KAREN A. ESCOBAR, Assistant United States

24   Attorney, hereby enter into the following stipulation:

25          1.   The parties to the above-captioned matter agree to vacate

26   his March 5, 2012, sentencing hearing and reset the matter

27   ////

28   ////

                                          1
       Case 1:10-cr-00131-LJO Document 114 Filed 03/01/12 Page 2 of 2



 1   for June 25, 2012, at 11:00 a.m.

 2    DATED: February 29, 2012                    Respectfully submitted,

 3                                                BENJAMIN B. WAGNER
                                                  United States Attorney
 4
                                                  By: /s/ Karen A. Escobar
 5                                                  KAREN A. ESCOBAR
                                                  Assistant U.S. Attorney
 6
                                                   /s/ Charles Lee
 7                                                 CHARLES LEE
                                                   Attorney for Defendant
 8                                                 Mark McGrath

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10                                 O R D E R

11        Having read and considered the foregoing stipulation,

12        IT IS THE ORDER of the Court that the current sentencing

13   hearing set March 5, 2012, for the above-named defendant is hereby

14   vacated and is reset for June 25, 2012, at 11:00 a.m.

15   IT IS SO ORDERED.
16
     Dated:       February 29, 2012
17   0m8i78                      CHIEF UNITED STATES DISTRICT JUDGE
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